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UNITED STATES DISTRICT COURT m m“" ‘ -___n.c,
WESTERN DISTRICT OF TENNESSEE 0 _
Western Division 5 JUL 25 p" iii 29
aE%US- DETR!CTCO{M
UNITED STATES OF AMERICA W OF mr M-L:MP}M
_v_ Case No. 2:05cr20265-002D

JOSEPH HAND

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
CaS€.

(2) The defendant shall immediately advise the court, Pretn`al Services Office, Probation Office, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom 5 on Wednesda , 07/27/05, at 9:30 a.m..

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
cornmunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance

0 report as directed by the l’retrial Services Office.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of irnprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

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Ao 19_% order Semng oondium;lg,i[@,gagpument entered on the docket sh l | ce
with Ftuie 55 and/or 32(b) FHCrP on

Case 2:05-Cr-20265-BBD Document 5 Filed 07/25/05 Page 2 of 3 Page|D 6

Federal law makes ita crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fme or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victirn, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed lf you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fmed not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware
of the penalties and sanctions set forth above. ' `

 

Joseph Stephan Hand
XXX-XX-XXXX

4571 Veme
Memphis, TN 38117
681-9317

DlRECTlONS TO THE UNITED STATES MARSHAL

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

f,__._..
Date: Ju1y21,2005 g /AMA#§L-`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

I:ll:|

Ao 199A order seizing conditions of Rerease -2-

UNITED sTAsTE DISTRICT COURT - WETERN DisTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20265 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listedl

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

